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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                            CHAPTER 13 CASE NO:

JAMIE W. WREN                                                18-14948-JDW

                  NOTICE OF TRUSTEE’S MOTION TO DISMISS

       Should any party receiving this notice respond or object to said motion, such
response is required to be filed on or before July 15, 2019, with the Clerk of this Court
using the CM/ECF system or at the following address:

                          Shallanda J. Clay, Clerk of Court
                              U. S. Bankruptcy Court
                           Northern District of Mississippi
                              703 Highway 145 North
                                Aberdeen, MS 39730

A copy of such response must be served on the undersigned Chapter 13 Trustee. If no
responses are filed, the Court may consider said motion immediately after the time
for responses has expired. In the event a written response is filed, the Court will
notify you of the date, time and place of the hearing thereon.

                                    CERTIFICATE

       I, the undersigned Attorney for Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage
prepaid, or electronically notified through the CM/ECF system, a copy of the above
and foregoing to all affected creditors and their attorney if known.

      Dated: June 20, 2019.

                                         LOCKE D. BARKLEY
                                         CHAPTER 13 TRUSTEE

                                         /s/ Melanie T. Vardaman
                                         ATTORNEYS FOR TRUSTEE
                                         W. Jeffrey Collier (MSB 10645)
                                         Melanie T. Vardaman (MSB 100392)
                                         6360 I-55 North, Suite 140
                                         Jackson, Miss. 39211
                                         (601) 355-6661
                                         ssmith@barkley13.com
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                         CHAPTER 13 CASE NO.:

JAMIE W. WREN                                             18-14948-JDW

                                 MOTION TO DISMISS

      COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee”) by and

through counsel, and files this Motion to Dismiss (the “Motion”) and in support

thereof states as follows:

      1.     On December 17, 2018, the Debtor initiated this proceeding with the

filing of a Chapter 13 bankruptcy petition. The Debtor filed his proposed First

Amended Chapter 13 Plan on December 21, 2018 (Dkt. #10) (the “Plan”).           The

Section 341(a) Meeting of Creditors was held on January 29, 2019. Except as stated

below, this case would otherwise be ready for confirmation.

      2.     The Debtor has failed to fully fund the Plan and is $460.85 delinquent

in plan payments through May 2019. Plan payments continue to accrue at the rate

of $79.00 bi-weekly ($171.17 per month) thereafter.

      3.     The failure by the Debtor to fund the Plan demonstrates that the Plan

is not feasible and, therefore, cannot be confirmed.

      4.     The Trustee requests that this bankruptcy case be dismissed.

      WHEREFORE, PREMISES CONSIDERED, the Trustee prays that upon

notice and hearing that this Court enter its order granting the Motion and for such

other relief to which the Trustee and this bankruptcy estate may be entitled.
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      Dated: June 20, 2019.

                                        Respectfully submitted,

                                        LOCKE D. BARKLEY
                                        CHAPTER 13 TRUSTEE

                                 By:    /s/ Melanie T. Vardaman
                                        ATTORNEYS FOR TRUSTEE
                                        W. Jeffrey Collier (MSB 10645)
                                        Melanie T. Vardaman (MSB 100392)
                                        6360 I-55 North, Suite 140
                                        Jackson, Miss. 39211
                                        (601) 355-6661
                                        ssmith@barkley13.com



                            CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
and I hereby certify that I either mailed by United States Postal Service, first class,
postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States
Trustee, and other parties in interest, if any, as identified below.

      Dated: June 20, 2019.

                                        /s/ Melanie T. Vardaman
                                        MELANIE T. VARDAMAN
